Case 2:12-cv-00595-SPC-CM Document 202 Filed 06/22/15 Page 1 of 3 PageID 5260



                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     FORT MYERS DIVISION

FEDERAL     DEPOSIT      INSURANCE
CORPORATION, as receiver of Colonial
Bank, in its own capacity and an
assignee of certain claims of Taylor,
Bean & Whitaker Mortgage Corp.

                   Plaintiff,

v.                                                              Case No: 2:12-cv-595-FtM-38CM

LENNAR CORPORATION, U.S.
HOME CORPORATION, NORTH
AMERICAN TITLE COMPANY, AYLA
D.  BURNETT,    CHARLES    M.
BURNETT, PEGGY FERGUSON,
JENNIFER WHITE, JULIE WHITE,
UTAH EXCHANGE GROUP, ASPEN
HOME LOANS, LLC, KELLY HATCH,
PAUL ANDREW GULBRONSON,
MICHAEL RILEY MOORE, SR. ,
RIVERWALK          PROPERTY
VENTURES,    LLC,   MATTHEW
DEVEREAUX, ANDREW JAMES
SORENSEN, ANTHONY GIZZI REAL
ESTATE APPRAISAL, INC. and
DAVID SAWYER,

                 Defendants.
                                                    /

                                                  ORDER1




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hyperlinks are provided only for users’ convenience. Users are cautioned that hyperlinked documents in
CM/ECF are subject to PACER fees. By allowing hyperlinks to other Web sites, this court does not endorse,
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Case 2:12-cv-00595-SPC-CM Document 202 Filed 06/22/15 Page 2 of 3 PageID 5261



       This matter comes before the Court on the Plaintiff, Federal Deposit Insurance

Corporation (FDIC), as receiver for Colonial Bank and Taylor Bean & Whitaker Plan

Trust's Unopposed Motion for Dismissal with Prejudice (Doc. #201) filed on June 19,

2015. Federal Rule of Civil Procedure 41(a)(2) provides that “an action may be dismissed

at the plaintiff's request only by court order, on terms that the court considers proper.”

“The district court enjoys broad discretion in determining whether to allow a voluntary

dismissal under Rule 41(a) (2).” Pontenberg v. Boston Sci. Corp., 252 F.3d 1253, 1255

(11th Cir.2001). A “voluntary dismissal should be granted unless the defendant will suffer

clear legal prejudice, other than the mere prospect of a subsequent lawsuit, as a result.”

Id. (internal quotation marks omitted).

       The Plaintiff now moves to dismiss this case with prejudice pursuant to Fed. R.

Civ. P. 41(a)(2). Rule 41(a)(2) provides that “an action may be dismissed at the plaintiff's

request only by court order, on terms that the court considers proper.” “The district court

enjoys broad discretion in determining whether to allow a voluntary dismissal under Rule

41(a) (2).” Pontenberg v. Boston Sci. Corp., 252 F.3d 1253, 1255 (11th Cir.2001). A

“voluntary dismissal should be granted unless the defendant will suffer clear legal

prejudice, other than the mere prospect of a subsequent lawsuit, as a result.” Id. (internal

quotation marks omitted).

       In this instance, all claims have been settled with all Defendants. The Plaintiff

asserts that all Parties have executed Settlement and Release Agreements, each Party

will bear their own attorney’s fees and costs. Finally, the order of dismissal is necessary

to effectuate the dismissal in accord with the terms of the agreement of all Parties

involved. In addition, the Plaintiff requests that the Court maintains jurisdiction over the




                                             2
Case 2:12-cv-00595-SPC-CM Document 202 Filed 06/22/15 Page 3 of 3 PageID 5262



case for thirty (30) days to enforce the terms of the settlement agreement. Based upon

the Court’s knowledge of the proceedings in the case, the Court finds good cause to grant

the motion and dismiss the case with prejudice.

      Accordingly, it is now

      ORDERED:

      The Plaintiff, Federal Deposit Insurance Corporation, as receiver for Colonial Bank

and Taylor Bean & Whitaker Plan Trust's Unopposed Motion for Dismissal with Prejudice

(Doc. #201) is GRANTED.

      (1) The case is DISMISSED with prejudice.

      (2) The Clerk of the Court is directed to enter judgment accordingly, terminate all

          pending motions and deadlines and close the case.

      (3) The Court will maintain jurisdiction over the case until July 22, 2015, to enforce

          the terms of the Settlement Agreement.

      DONE and ORDERED in Fort Myers, Florida this 22nd day of June, 2015.




Copies: All Parties of Record




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